Case 2:10-md-02179-CJB-DPC Document 59-1 Filed 08/23/10 Page 1 of 10

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

oe
IN RE: OIL SPILL by the OIL RIG * MDL No. 2179
"DEEPWATER HORIZON" in the *
GULF OF MEXICO, on April 20, 2010 *
* Section "J"
*
This Document Relates to: Civil No. 2:10-cv-01497, *
Gulf Restoration Network, et al. v. Salazar, et al. * Judge Barbier
* Mag. Judge Shushan
ok

RR OR RR ROR KR RK OK oR RK OK OK oR ok OK OK ok ok ok ok ok ok kk

MEMORANDUM IN SUPPORT OF DEFENDANT-INTERVENORS'
MOTION TO DECONSOLIDATE AND TRANSFER

Intervenors American Petroleum Institute, Independent Petroleum Association of
America, US Oil & Gas Association, and International Association of Drilling Contractors (the
"Associations") file this memorandum in support of their motion to deconsolidate Civil No. 2:10-
cv-01497 ("Gulf Restoration") from MDL No. 2179 and transfer the action back to Judge
Engelhardt.

Counsel for Plaintiffs have indicated that they object to the Associations’ motion

to deconsolidate and transfer. Counsel for the Federal Defendants have indicated that they do

164591
Case 2:10-md-02179-CJB-DPC Document 59-1 Filed 08/23/10 Page 2 of 10

not oppose the Associations’ motion to deconsolidate, and that they take no position with regard

to the Associations’ request to transfer the case back to Judge Engelhardt.

BACKGROUND

A. MDL No. 2179.

On August 10, 2010, the Judicial Panel on Multidistrict Litigation ("JPML")
issued an order centralizing 77 actions "concerning the cause (or causes) of the Deepwater
Horizon explosion/fire and the role, if any, that each defendant [in those cases] played in it"
before this Court under MDL No. 2179. Transfer Order at 3, MDL No. 2179 (J.P.M.L. Aug. 10,
2010). The consolidated cases principally involve claims for monetary damages against private
corporations—such as British Petroleum and Transocean (respectively, the owner of the oil lease
upon which the Deepwater Horizon oil rig was situated and the owner/operator of that rig)—for
alleged negligence relating to the Deepwater Horizon explosion and resulting oil spill into the
Gulf of Mexico. See, e.g., Roshto, et al. v. Transocean, Ltd., et al., Civil No. 2:10-cv-01156
(E.D. La.); Robin Seafood Co., et al. v. BP, PLC, et al., Civil No. 2:10-cv-01314 (E.D. La.);
Silver, et al. v. BP, PLC, et al., Civil No. 2:10-cv-01387 (E.D. La.). This Court has set a
September 16, 2010 hearing to consider matters relating to pretrial and discovery proceedings in

these cases. See Pretrial Order #1 (Amendment), MDL No. 2179 (E.D. La. August, 16, 2010).
B. Gulf Restoration Network, et al. v. Salazar, et al., Civil No. 2:20-cev-01497.

The Outer Continental Shelf ("OCS") Lands Act, 43 U.S.C. §§ 1301 ef seq.,
confers on the United States control over the mineral resources in the submerged lands of the
OCS. 43 U.S.C. §§ 1301(a), 1331(a). The Secretary of Interior is empowered to sell leases

granting the exclusive right "to explore [for], develop, and produce" the oil and gas resources

-2-
164591
Case 2:10-md-02179-CJB-DPC Document 59-1 Filed 08/23/10 Page 3 of 10

contained within the leased area, in exchange for the lessee's payment to the Government of an
up-front bonus, annual rentals, and royalties on any oil and gas produced. 43 U.S.C. § 1337(b);
30 C.F.R. § 256.32. The Secretary has delegated most of his authority under the OCS Lands Act
to the Bureau of Ocean Energy, Management, Regulation, and Enforcement ("BOEMRE"). 30
C.F.R. § 250.104.!

After lease issuance, an OCS lessee may submit an exploration plan ("EP") for
BOEMRE approval. 43 U.S.C. §§ 1340(c), 1351; 30 C-F.R. § 250.201. BOEMRE's regulations
set forth the information that generally should be included in an exploration plan, including
information concerning the likely impact of, and planned response to, a worst case oil spill, see
Section 250.219(a)(2)(v), and information concerning the impact of and response to a drilling rig
blowout, see Section 250.213(g). However, 30 C.F.R. § 250.201(b) provides that the BOEMRE
Regional Director may require a lessee to submit additional information, while 30 C.F.R.
§ 250.201(c) provides that the BOEMRE Regional Director "may limit the amount of
information or analysis that you otherwise must provide in your proposed plan or document..."

The Regional Director invoked both of these provisions in adopting Notice to
Lessees ("NTL") No. 2008-G04. BOEMRE regulations explicitly provide for the issuance of
such NTLs, which are designed to "clarify, supplement, or provide more detail about certain

requirements." See 30 C.F.R. § 250.103. NTL No. 2008-G04 provided, with respect to the

By a June 22, 2010 executive order, the Secretary of the Interior changed the name of the
Minerals Management Service to the BOEMRE. For ease of reference, the Associations
will refer to the agency both before and after this name change as BOEMRE.

164591
Case 2:10-md-02179-CJB-DPC Document 59-1 Filed 08/23/10 Page 4 of 10

worst case oil spill information required by 30 C.F.R. § 250.219(a)(2)(v), that if the lessee
already had an approved regional Oil Spill Response Plan ("OSRP"), it would be sufficient for
the lessee to provide in the exploration plan a comparison of the appropriate worst-case scenario
from the approved regional OSRP with the worst-case scenario from the proposed activities, and
set forth the information to be included in that comparison. Lessees were required to submit the
additional blow-out scenario information set forth in Section 250.213(g) only in specified
circumstances.

On May 18, 2010, Plaintiffs Gulf Restoration Network and Sierra Club
("Plaintiffs") filed their complaint challenging the provisions of NTL 2008-G04 addressing the
informational requirements for EPs that lessees are required to submit to BOEMRE with respect
to proposed oil and gas exploration activities on OCS of the Gulf of Mexico. The lawsuit claims
that the government agencies and officers responsible for implementing the OCS Lands Act and
adopting the NTL ("Government" or "Federal Defendants") violated the National Environmental
Policy Act, 42 U.S.C. §§ 4321 et seq. ("NEPA"), and the Administrative Procedure Act, 5 U.S.C.
§§ 551 et seg. ("APA"). See Complaint Counts I and II. The lawsuit seeks two forms of relief:
(1) an order requiring the Government retroactively to apply a more expansive set of
informational requirements to exploration plan permits that have previously been granted
pursuant to the challenged NTL with respect to deepwater Gulf of Mexico exploration, see
Prayer for Relief § 4, and (2) a preliminary and permanent injunction prohibiting any future

application of the challenged NTL, see Prayer for Relief §{ 1-3.

164591
Case 2:10-md-02179-CJB-DPC Document 59-1 Filed 08/23/10 Page 5 of 10

By order dated August 12, 2010, Gulf Restoration was transferred from Section
"N" to Section "J" of the Eastern District of Louisiana and, by order dated August 13, 2010,

consolidated with MDL No. 2179.

LAW AND ARGUMENT

I. Gulf Restoration Should be Deconsolidated from MDL No. 2179 and Transferred to
Judge Engelhardt Because the Parties and Issues are Fundamentally Different.

Multidistrict consolidation is appropriate "[w]hen civil actions involving one or
more common questions of fact are pending in different districts". 28 U.S.C. § 1407(a).
Moreover, "any common questions of fact" must be "sufficiently complex and/or numerous to
justify Section 1407 transfer." See, e.g., In re Depo-Provera Prod. Liability Litig., 499 F. Supp.
2d 1348, 1349 (J.P.M.L. 2007) (denying consolidation).” Because Gulf Restoration's parties and
underlying issues are fundamentally different than those in MDL No. 2179, this most basic
requirement for consolidation is not satisfied.

As noted above, the existing cases in MDL No. 2179 involve claims for monetary
damages against the private companies that owned the OCS lease upon which the Deepwater
Horizon oil rig was situated, and owned or operated the Deepwater Horizon oil rig itself.
Alleging, among other things, common law negligence by these private companies, the lawsuits

seek to recover for the loss of life and alleged damage to Gulf of Mexico businesses caused by

Similarly, under Fed. R. Civ. P. 42, consolidating actions is proper when two or more
district court cases "involve common questions of law or fact," and consolidation is
improper where the issues in the suits are different, see e.g., Picard v. Am. Tobacco Co.,
No. 95-985, 1996 WL 156861, at *2 (E.D. La. Apr. 3, 1996); Guillermo Sintes Reyes,
S.A. v. Opulence Transport Corp., No. 92-2312, 1993 WL 114522, at *1 (E.D. La. Apr.
9, 1993). See also infra pp. 4-7.

164591
Case 2:10-md-02179-CJB-DPC Document 59-1 Filed 08/23/10 Page 6 of 10

the explosion of Deepwater Horizon and resulting oil spill. See pp. 1-2 supra. Accordingly,
MDL No. 2179 directly involves only those lawsuits "concerning the cause (or causes) of the
Deepwater Horizon explosion/fire and the role, if any, that each defendant played in it."
Transfer Order at 3, MDL No. 2179 (J.P.M.L. Aug. 10, 2010).

In contrast, Gulf Restoration involves the plaintiffs’ administrative law challenge
to the Government's decision-making with respect to the approval of certain exploration plans in
the Gulf of Mexico OCS. Arising under the APA, the lawsuit seeks only declaratory and
injunctive relief invalidating the Government's rules governing exploration plan approval as the
product of improper rulemaking procedures, and vacating the exploration plans approved under
those rules.’ Because Gulf Restoration implicates only the actions of federal regulatory actors
under federal administrative law standards, not the alleged common law negligence of private
actors involved in the Deepwater Horizon oil spill, the federal law claims in Gulf Restoration
"bear[] no relation to" the actions in MDL No. 2179. In re Worldcom, Inc. Securities & ERISA
Litig., 226 F. Supp. 2d 1352, 1355 (J.P.M.L. 2002) (denying consolidation of claim involving
breach of specific contract with cases involving broader "financial irregularities"). See also In re
Gaiam, Inc. Water Bottle Mitg., Sales Practices & Prods. Liability Litig., 672 F. Supp. 2d 1373,
1375 (J.P.M.L. 2010) (denying consolidation where, inter alia, "[t]he actions . . . involve parties,

facts and theories different from those in the actions in [the] MDL"); In re Seroquel Prods.

While the Complaint alleges violations of NEPA, that statute does not include a private
right of action independent of the APA. See Public Citizen v. U.S. Trade Representative,
5 F.3d 549, 551 (D.C. Cir. 1993); Sierra Club v. Penfold, 857 F.2d 1307, 1315 (9th Cir.
1988); Sierra Club v. Slater, 120 F.3d 623, 630-31 (6th Cir. 1997).

-6-
164591
Case 2:10-md-02179-CJB-DPC Document 59-1 Filed 08/23/10 Page 7 of 10

Liability Litig., 447 F. Supp. 2d 1376, 1379 (J.P.M.L. 2006) (finding consolidation inappropriate
because actions involved different defendants and different prescription drugs).

Moreover, whereas Section 1407 endeavors to consolidate cases with common
questions of fact in order to "eliminate duplicative discovery," Worldcom, 226 F. Supp. 2d at
1354, as an APA challenge Gulf Restoration involves no questions of fact at all, but rather the
_ purely legal question whether the administrative record indicates that Government
decisionmakers followed the proper procedural steps in adopting NTL No. 2008-G04. Indeed,
under the APA, judicial review of agency action is limited to the administrative record that gave
rise to the government decisions in dispute, see, e.g., IMS, P.C. v. Alvarez, 129 F.3d 618, 623
(D.C. Cir. 1997) ("It is a widely accepted principle of administrative law that the courts base
their review of an agency's actions on the materials that were before the agency at the time its
decision was made."); Env'l Def Fund, Inc. y. Costle, 657 F.2d 275, 284 (D.C. Cir. 1981) ("The
focal point for judicial review should be the administrative record already in existence, not some
new record completed initially in the reviewing court."), and, as a result, generally resolved as a
matter of law via motion to dismiss or summary judgment briefing, see, e.g., James Madison,
Ltd. v. Ludwig, 82 F.3d 1085, 1096 (D.C. Cir. 1996) ("Generally speaking, district courts
reviewing agency action under the APA's arbitrary and capricious standard do not resolve factual
issues, but operate instead as appellate courts resolving legal questions."). Accordingly, in stark
contrast to the negligence claims in MDL No. 2179, there is no discovery to be managed in Gulf

Restoration.

164591
Case 2:10-md-02179-CJB-DPC Document 59-1 Filed 08/23/10 Page 8 of 10

Without any "[d]iscovery . . . overlap" or "legal issues . . . turn[ing] on similar
facts and law," In re AT&T Mobility Wireless Data Servs. Sales Tax Litig., No. MDL 2147, 2010
WL 1437639, at *1 (J.P.M.L. April 7, 2010), relating to the actions of similar defendants, there is
no justification for consolidation of Gulf Restoration with MDL No. 2179. Cf Jn re Janus
Mutual Funds Investment Litig., 310 F. Supp. 2d 1359, 1361 (J.P.M.L. 2004) (granting
consolidation where cases had "common questions of fact" involving "some common defendants

and/or witnesses").

I. Consolidation with MDL No. 2179 Will Improperly Delay Resolution of Gulf
Restoration.

Through parallel management of complex pretrial factual issues, multidistrict
consolidation under Section 1407 is designed to expedite cumbersome pretrial proceedings and
"conserve the resources of the parties, their counsel and the judiciary," Worldcom, 226 F. Supp.
2d at 1354. However, as explained above, unlike the actions in MDL No. 2179, Gulf Restoration
turns on pure questions of administrative law viewed against an established administrative
record, and is consequently free from the burdens of discovery. By forcing Plaintiffs, the
Government and the Associations to await resolution of irrelevant discovery and factual
disputes—telating to completely different parties, theories of recovery and remedies—
consolidation with MDL No. 2179 unreasonably delays Gulf Restoration's resolution. This
Court should therefore deconsolidate Gulf Restoration and transfer the lawsuit back to Judge
Engelhardt so that the parties can proceed with the quick legal resolution that is typical of APA

actions.

164591
Case 2:10-md-02179-CJB-DPC Document 59-1 Filed 08/23/10 Page 9 of 10

CONCLUSION

Consolidation of Civil No. 2:10-cv-01497 with MDL. No. 2179 is improper and

the Court should transfer the action back to Judge Engelhardt.

Respectfully submitted,

/s/John W._ Joyce

Judy Y. Barrasso, 2814

John W. Joyce, 27525

Andrea Mahady Price, 30160

Barrasso Usdin Kupperman
Freeman & Sarver, L.L.C.

909 Poydras Street, 24th Floor

New Orleans, Louisiana 70112

Telephone: (504) 589-9720

Facsimile: (504) 589-9701

jbarrasso@barrassousdin.com

jjoyce@barrassousdin.com

aprice@Dbarrassousdin.com

Steven J. Rosenbaum

Bradley K. Ervin

COVINGTON & BURLING LLP
1201 Pennsylvania Avenue N.W.
Washington, D.C. 20004
Telephone: (202) 662-5568
Facsimile: (202) 778-5568
srosenbaum@cov.com

Counsel for Defendant-Intervenors
American Petroleum Institute, Independent
Petroleum Association of America, US Oil
& Gas Association, and International
Association of Drilling Contractors

August 23, 2010

164591
Case 2:10-md-02179-CJB-DPC Document 59-1 Filed 08/23/10 Page 10 of 10

CERTIFICATE OF SERVICE

I hereby certify that on this 23rd day of August 2010, the foregoing Memorandum
in Support of Defendant-Intervenors' Motion to Deconsolidate and Transfer was filed via the

Court's CM/ECF system and served via the Court's CM/ECF system upon all counsel of record.

/s/John W. Joyce

-10-
164591
